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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS


                                                  )
  JING GAO, et al.                                )
                                                  )
                       Plaintiff,                 )
                                                  )
  vs.                                             )   CIVIL ACTION NO. 3:16-cv-00323
                                                  )
  BLUE RIDGE LANDFILL TX, LP                      )
                                                  )
                       Defendant.                 )



                     BLUE RIDGE LANDFILL TX, LP’S REPLY
                     TO PLAINTIFFS’ SUPPLEMENTAL BRIEF


         The “short” supplemental briefing submitted by Plaintiffs includes thousands of

pages of exhibits, including TCEQ complaints, reports and charts as well as a voluminous

set of full deposition transcripts.     Because Plaintiffs greatly exceeded the Court’s

permission to file supplemental briefing, BRL is forced to object to late-filed evidence and

address the new arguments raised by Plaintiffs. BRL’s Objections to Improper and Late-

Filed Summary Judgment Evidence, filed this same day, are incorporated here by

reference. Despite the density of Plaintiffs’ supplemental filing, however, Plaintiffs still

provide nothing to alter the inevitable outcome dictated by the record in this case: Plaintiffs

lack standing, and their claims regarding the decades-old alleged nuisance have long since

lapsed.




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        In their latest supplemental brief, Plaintiffs invite this Court to substitute a TCEQ

report for their own testimony about the alleged nuisance odors. There is no dispute that

the TCEQ performs regulatory functions with respect to BRL and other entities near the

Shadow Creek Ranch community, nor is there any dispute that complaints to TCEQ about

odors have increased over time as more residents moved to the neighborhood. But the

regulatory functions of TCEQ do not supplant Plaintiffs’ own testimony and allegations

about the odors they have experienced.

        Plaintiffs’ own testimony and allegations establish that the nuisance conditions

alleged here have been regular and continuous (though perhaps not daily) for many years

and well beyond the two-year period preceding suit. The TCEQ acknowledges that

residents of Shadow Creek Ranch have filed odor complaints since at least 2007, and

another resident filed a lawsuit in 2009 alleging the exact same claims presented by these

Plaintiffs. Consider how closely the 2009 allegations align with what Plaintiffs allege now:

        Excerpt from the 2009 Nadalo Petition

        Beginning in January of 2008, my wife and I started to notice an unusual
        odor in the late evenings and early morning hours at Our House. Over the
        course of the year the odor, which is strongest in colder weather, developed
        into a foul rotten trashy smell. Depending on weather conditions, the odor
        ranges from undetectable to unbearable. When the stench is at its worst, the
        odor permeates the air and infiltrates Our Home.

(Ex. 5 to BRL’s Motion at ¶11). Interestingly, the 2009 lawsuit also made the same claims

about TCEQ complaints:

        Unfortunately, we are not the only ones affected. Recent news articles have
        confirmed that the 521 Landfill is causing great frustration for the citizens in
        and around the area . . . In fact, more than 160 complaints were filed with the


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          Texas Commission on Environmental Quality (“TCEQ”) in 2008 alone in
          regards to the odor from the 521 Landfill.

(Id. at ¶12.)

          There is no avoiding that Plaintiffs’ claims came too late.

    A.    Plaintiffs Cannot Rewrite Their Testimony to Avoid Summary Judgment.

          Plaintiffs allege that “none of [the Plaintiffs] have alleged or testified to facts

constituting a nuisance any time prior to late 2015.” (Supp. Brief at 2.) This is not true.

See chart in BRL’s Reply to Motion for Summary Judgment describing odors at pp 3-7.

Plaintiffs’ live pleadings and testimony (in each of their depositions) described in great

detail the alleged nuisance odors prior to 2015.

          1. Plaintiffs Misstate the Burden Regarding Standing

          Standing is a requirement for federal subject-matter jurisdiction, and it is Plaintiffs’

burden to set forth by affidavit or other evidence specific facts to demonstrate that standing

exists. Plaintiffs failed to provide any such evidence. Plaintiffs’ allegation that BRL

should disprove standing by providing evidence from prior owners in Shadow Creek Ranch

misstates the burden.

          2. Plaintiffs Also Misstate Their Own Testimony

          Each of the Plaintiffs testified that they experienced the alleged nuisance odors

shortly after moving into their respective homes—in some cases as early as 2007. 1



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 We will not recite again here the testimony from each of the Plaintiffs establishing when they first experienced the
odors—that is included in both BRL’s Motion and Reply. We do note, however, that Plaintiffs’ latest brief blatantly
misrepresents the testimony of Ms. Kathryn Pierce, in particular, by suggesting that she did not identify odors until
2015—she testified that she identified odors shortly after moving in 2014, as cited previously by BRL. (BRL Reply,
Ex. 2, at 24:13-24.)

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Plaintiffs’ own testimony flatly contradicts Plaintiffs’ new argument that odors did not

arrive until 2015.

        In Plaintiffs’ newly filed (and untimely) declarations submitted from the Nixon and

Lowe Plaintiffs, each of these individuals admits that the odors existed, but claim the odors

later became “more bothersome.” The fact that Mr. and Mrs. Nixon claim that the odors

became more bothersome does not alter the fact that they identified the odors just a couple

weeks after they moved into their home in 2012 and that, in Mrs. Nixon’s own words, they

discovered at that time that “we’re going to have a stinky neighborhood.” (BRL Reply,

Ex. 3, at 34:8-35:4.) Likewise, the fact that Mr. and Mrs. Lowe now, according to their

declarations, find the odors to be “more bothersome” does not undo their prior testimony

that they have experienced “consistently that sort of rotten egg, trashy smell” over all the

years they’ve lived in the house since 2007. (BRL Reply, Ex. 1, at 33:7-11, 35:15-23.) An

alleged nuisance odor that from time to time becomes “more bothersome” does not alter

the nature of the alleged nuisance odor.

        Neither the Plaintiffs’ testimony nor their untimely declarations describe any sudden

or recent changes in the nature of their discomfort or changes in their alleged injuries. To

the contrary, as in Schneider, the testimony of the residents themselves establish that the

conditions alleged here have been regular and continuous (though perhaps not daily) for

many years beyond the two-year period preceding suit.




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B.         TCEQ Records Do Not Address When or How These Plaintiffs Experienced
           the Alleged Nuisance.

           Plaintiffs submit TCEQ records documenting investigations in 2016 and 2017.

Those records only establish that the State of Texas regulates BRL and other entities in the

area. But whether and how the TCEQ conducts its business cannot substitute for how these

Plaintiffs described the alleged odors present in Shadow Creek Ranch since 2007. Whether

an alleged odor nuisance existed as early as 2007 is answered by the Plaintiffs’ own

pleadings, deposition testimony, odor data sheets, prior TCEQ complaints and the earlier

lawsuit.

           Plaintiffs’ argument now that the TCEQ establishes when a nuisance condition

exists is wrong. First, it is for this Court—not the TCEQ—to decide as a matter of law

whether the injury alleged by Plaintiffs constitutes a temporary or permanent nuisance.

The Court makes that determination according to the standard set by the Texas Supreme

Court. See Gilbert Wheeler, Inc. v. Enbridge Pipelines (E. Tex.), L.P., 449 S.W.3d 474,

481 (Tex. 2014). The TCEQ applies a different standard. In undertaking their regulatory

and enforcement work, the TCEQ evaluates alleged nuisance conditions according to the

definitions and standards set out by the Texas Administrative Code and their own FIDO

chart. 2

           Second, Plaintiffs again argue that an increase in complaints to TCEQ about odors

in the Shadow Creek Rank community indicates when the alleged nuisance arose. But



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  The TCEQ issues an odor identification chart to investigators who then drive around smelling the air trying to
correlate an odor to a specific level of strength according to a chart listing Frequency, Intensity, Duration and Odor
(FIDO). (See Deposition of K. McLeod at 238:5-239:1.)

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Plaintiffs make no effort to address the equally large increase in residents in the Shadow

Creek Ranch community over the last decade. An increase in TCEQ complaints cannot

substitute for the testimony of the Plaintiffs themselves. In particular, Plaintiffs’ charts of

alleged complaints to TCEQ do not even accurately reflect complaints necessarily

attributed to BRL. (Plaintiffs admit as much in footnotes 3-5 in their supplemental brief.)

Indeed, a quick review of only the first page of Plaintiffs’ Exhibit 2 reflects that of twelve

complaint entries listed, at least ten either list no source or identify a non-BRL source

(columns curiously absent from the truncated chart submitted by Plaintiffs).

        In sum, TCEQ complaint activity supposedly ascribed to BRL during 2013-2018

does not alter the testimony in the record from Plaintiffs about alleged odor nuisances

dating back to 2007, nor does any regulatory function of TCEQ determine the existence or

onset of the nuisance alleged by Plaintiffs.

                                      CONCLUSION

        Plaintiffs cannot offer TCEQ investigations and complaints as a substitute for their

own testimony and allegations about the onset of the alleged nuisance dating back to 2007.

For the foregoing reasons, BRL respectfully requests the Court grant its Objections to

Plaintiffs’ untimely evidence (incorporated by reference), grant its Motion for Summary

Judgment, enter judgment that the named Plaintiffs take nothing on their claims against

BRL, and award BRL all further relief to which BRL may show itself justly entitled.




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                                      Respectfully submitted,
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                            CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing is being served on all

counsel of record on this 1st day of October, 2018, by electronic service through email

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